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IT IS SO ORDERED


/s/ David A. Katz
David A. Katz, Senior Judge


                              IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

  PATRICIA A. PREPHAN,                        ) Case No. 11-CV-0434
                                              )
               Plaintiff,                     ) Judge Katz
                                              )
  v.                                          ) STIPULATED DISMISSAL ENTRY
                                              )
  NCO FINANCIAL SYSTEMS, INC.,                )
  et al.,                                     )
                                              ) Kyle A. Silvers, Esq. (0067654)
                Defendants,                   ) SHINDLER, NEFF, HOLMES,
                                              ) SCHLAGETER, & MOHLER, L.L.P.
                                              ) 1200 Edison Plaza
                                              ) 300 Madison Avenue
                                              ) Toledo, Ohio 43604-1556
                                              ) (419) 243-6281
                                              ) FAX: (419) 474-9522
                                              ) Counsel for Plaintiff
                                              ) Patricia A. Prephan
                                              )
          Plaintiff Patricia A. Prephan and Defendants Chase Bank USA and Palisades Collection
  LLC., hereby stipulate that this action shall be and hereby is dismissed, with prejudice, with
  Plaintiff to pay the Court costs. All other fees and costs are and remain the responsibility of the
  incurring party.
                                                       Respectfully Submitted,


                                                       /s/Kyle A. Silvers______
                                                       Kyle A. Silvers, Esq.
                                                       Attorney for Plaintiff




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